Case: 1:22-cv-00155-TSB Doc #: 18 Filed: 04/01/22 Page: 1 of 1 PAGEID #: 427
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the crvil docket sheet. (SEF INSTRUCTIONS ON NENT PAGE OF THIS FORM)
I. (a) PLAINTIFFS DEFENDANTS

Pierre Investments, Inc., Pierre Investments, Inc. d/b/a/ Fifth Third Bank, an Ohio banking corporation

Gehard Luxury Homes, Gazian, Ken Frank LaRose, in his official capacity as Ohio SOS, et al

(b) County of Residence of First Listed Plaintiff Dallas, TX County of Residence of First Listed Defendant Franklin County. OH
(EXCEPT IN US. PLAINTIFF CASES) (IN US. PLAINTIFF CASES ONLY)

JS 44 (Rev 04/21)

(c) Attorneys (firm Name, Address, and Telephone Number)

Cynthia M. Rodgers, Law Office of Cynthia M. Rodgers
LLC, P.O. Box 1, Dresden, Ohio 43821 (740) 575-6870

NOTE
THE TRACT

Attorneys (/f Known)

 

OF LAND INVOLVED

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

Amended Complaint mailed to "Fifth Third Bank, an Ohio
banking corporation" c/o Ohio Secretary of State 3/26/2022

 

II. BASIS OF JURISDICTION (Piace an “x” in One Box Only)

US Government
Plaintiff

Ch

[]2 US Government
Defendant

C]3 Federal Question

(LS. Government Not a Party)

[x] 4 Diversity

Undicate Cinzenship of Parties in Irem III)

 

IV. NATURE OF SUIT (Place an “X” in One Box ¢ daly)

(hor Diversity Cases Only)

PTF

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Citizen of This State

Citizen of Another State

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Cinzen or Subject of a
Foreign Country

I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" 11 One Box for Plarnuff

and One Box for Defendant)

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Incorporated or Principal Place

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of Business In This State

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Foreign Nation

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uit Code Descriptions.
OTHER STATUTES

 

 

 

 

 

 

 

| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY
110 Insurance PERSONAL INJURY PERSONAL INJURY | ]625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Manne 310 Airplane 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act - 315 Airplane Product Product Liability | |690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability Cc] 367 Health Care INTELLECTUAL 400 State Reapportionment
150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
H 152 Recovery of Defaulted Liability CL] 368 Asbestos Personal $35 Patent - Abbreviated 460 Deportation
Student Loans | 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Manne Product Liability 840. Trademark Corrupt Organizations
{] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran's Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
J 160 Stockholders’ Suits -- 355 Motor Vehicle 4 371 Truth in Lending Act 485 Telephone Consumer
| 190 Other Contract Product Liability be 380 Other Personal T1720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HLA (13958f) 490 Cable/Sat TV

196 Franchise

Injury
| 362 Personal Injury -
Medical Malpractice

CJ 385 Property Damage
Product Liability

 

REAL PROPERTY

CIVIL RIGHTS

PRISONER PETITIONS

740 Railway Labor Act
751 Family and Medical

Leave Act

| 790 Other Labor Litigation

 

| _|210 Land Condemnation
220 Foreclosure
230 Rent Lease & Ejectment

|_| 440 Other Civil Rights
441 Voting
442 Employment

Habeas Corpus:
463 Ahen Detainee
510 Motions to Vacate

791 Employee Retirement
Income Secunty Act

862 Black Lung (923)

863 DIWC/DIWW (405(g))
864 SSID Title XVI

865 RSI (405(g))

850 Securities‘ Commodities
a Exchange

890 Other Statutory Actions
| 891 Agncultural Acts
893 Environmental Matters

 

 

895 Freedom of Information

 

}LEDERAL TAX SUITS
[| 870 Taxes (U.S. Plaintiff

Act

896 Arbitration
899 Administrative Procedure
Act/Review or Appeal of

or Defendant)
|_| 871 IRS —Third Party
26 USC 7609

Sentence
30 General
35 Death Penalty
Other:
540 Mandamus & Other
550 Civil Rights
555 Prison Condition
560 Cryil Detainee -
Conditions of
Confinement

240 Torts to Land
245 Tort Product Liability
=] 290 All Other Real Property

443 Housing
Accommodations

] 445 Amer, w/Disabilities -

Employment

ia] 446 Amer w/Disabilities -

Other

| 448 Education

5

462 Naturalization Application

465 Other Immigration
Actions

 

Agency Decision

|] 950 Constitutionality of
State Statutes

 
    

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V. ORIGIN (Ptace an “X" m One Box Only)

x] 1 Original 2 Removed from 3. Remanded from m4 Reinstated or El 5 Transferred from 6 Multidistrict oO 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity)

28 US Code Section 1332

Brief description of cause.

In 2016, a former employee of a then active Fifth Third bank opened a checking account for a non-existing Corporation without verifying existence

VI. CAUSE OF ACTION

 

 

VII. REQUESTED IN

 

 

 

 

(_] CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F RCv P JURY DEMAND: [x]yes [JNo
VIL RELATED CASE(S)
. (See mstructions)
IF ANY JUDGE DOCKET NUMBER
DATE // /, / SIGNATURE OF ATTORNEY OF RECORD
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